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                                             UNITED STATES BANKRUPTCY COURT
                                     MIDDLE DISTRICTOF' }-LORIDA. TAMPA DIVISION

ln re
    RIGOBERTO SEBASTIAN RONOUILLO
    ilIARIA SILVIA RONOU]LLO                                                       Case No.
                                                                                   Chapter    |   3
                                   Debtor'

               CERTIFICATION REGARDING DOMESTIC SUPPORT OBLIGATION BY DEBTOR

        NOTICE lS HEREBY given that. pursuant to I I U.S.C. section 1328(a), the debtor hereby states as follows
(check one ofthe statements listed below for each debtor):

          I. NaMe of     DebtOr:        RIGOBERTO SEBASTIAN RONQUILLO

                 pl     That debtor is not required to pay any amounts under a domestic suppon obligation.

                 [--1   Debtor is required by a judicial or administrative order, or by statute, to pay a domestic support
                        obligation. and certifies that all amounts payable under such order or such statute that are due on or
                        before the date of the certification (including arnounts due before the petition was filed, but only to the
                        extent provided for by the plan) have been paid.

          2. Name of Joint     Debtor:        MARIA SlLvlA   Rgitq!!!!O            (if applicable)

                 ffi    That Joint Debtor is not required to pay any amounts undera domestic support obligation.

                 ll     Joint Debtor is required by a judicial or administrative order, or by statute, to pay a domestic support
                        obligation. and certifies that all amounts payable under such order or such statute that are due on or
                        before the date ofthe certification (including amounts due before the petition was filed, but only to the
                        extent provided for by the plan) have been paid.

I declare         penalty    ofperjury that the foregoing   is true and correct,



                                                                                      June 6.2016
                                                                                                      Date




                                                                                      June 6,2016




' All   references to "debtoy''shall include and refer to both debtors in a case filed      jointly by two individuals.




                                                                                                                          gclt Cas Ba*ruPt;}
